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                       Ex. 1
     Case 5:12-cv-00630-LHK Document 594-2 Filed 06/11/13 Page 2 of 38




 1 QUINN EMANUEL URQUHART &                       STEPTOE & JOHNSON, LLP
   SULLIVAN, LLP                                  John Caracappa (pro hac vice)
 2 Charles K. Verhoeven (Bar No. 170151)          jcaracappa@steptoe.com
   charlesverhoeven@quinnemanuel.com              1330 Connecticut Avenue, NW
 3 Kevin A. Smith (Bar No. 250814)
   kevinsmith@quinnemanuel.com                    Washington, D.C. 20036
 4 50 California Street, 22nd Floor               Telephone: (202) 429-6267
   San Francisco, California 94111                Facsimile: (202) 429-3902
 5 Telephone: (415) 875-6600
   Facsimile: (415) 875-6700
 6
   Kevin P.B. Johnson (Bar No. 177129 (CA);
 7 2542082 (NY))
   kevinjohnson@quinnemanuel.com
 8 Victoria F. Maroulis (Bar No. 202603)
   victoriamaroulis@quinnemanuel.com
 9 555 Twin Dolphin Drive, 5th Floor
   Redwood Shores, California 94065
10 Telephone: (650) 801-5000
   Facsimile: (650) 801-5100
11
   William C. Price (Bar No. 108542)
12 williamprice@quinnemanuel.com
   Patrick M. Shields (Bar No. 204739)
13 patrickshields@quinnemanuel.com
   865 South Figueroa Street, 10th Floor
14 Los Angeles, California 90017-2543
   Telephone: (213) 443-3000
15 Facsimile: (213) 443-3100

16 Attorneys for SAMSUNG ELECTRONICS CO.,
   LTD., SAMSUNG ELECTRONICS AMERICA,
17 INC. and SAMSUNG
   TELECOMMUNICATIONS AMERICA, LLC
18

19                             UNITED STATES DISTRICT COURT

20                NORTHERN DISTRICT OF CALIFORNIA, SAN JOSE DIVISION

21 APPLE INC., a California corporation,          CASE NO. 12-CV-00630-LHK

22                Plaintiff,
                                                  SAMSUNG'S PATENT LOCAL RULE
23         vs.                                    3-3 AND 3-4 DISCLOSURES
24 SAMSUNG ELECTRONICS CO., LTD., a
   Korean business entity; SAMSUNG
25 ELECTRONICS AMERICA, INC., a New
   York corporation; SAMSUNG
26 TELECOMMUNICATIONS AMERICA,
   LLC, a Delaware limited liability company,
27
                 Defendants.
28

                                                                      Case No. 12-cv-00630-LHK
                                        SAMSUNG’S PATENT LOCAL RULE 3-3 AND 3-4 DISCLOSURES
      Case 5:12-cv-00630-LHK Document 594-2 Filed 06/11/13 Page 3 of 38




 1 I.       THE '502 PATENT

 2          A.     Local Patent Rule 3-3(a): Identification of Prior Art1
 3          At this time, Samsung contends that at least the following prior art references anticipate or
 4 render obvious, either alone or in combination, the asserted claims of the '502 Patent:

 5                 1.      Patent References2
 6
            Country of        Patent Number        Date of Issue          Priority Date
 7           Origin
               US                4,330,845        May 18, 1982            Dec. 31, 1979
 8             US                4,559,598        Dec. 17, 1985           Feb. 22, 1983
               US                4,737,980        Apr. 12, 1988           July 19, 1985
 9             US                4,862,498        Aug. 29, 1989           Nov. 28, 1986
               US                4,896,291        Jan. 23, 1990           May 20, 1988
10             US                5,007,019        Apr. 9, 1991             Jan. 5, 1989
               US                5,041,967        Aug. 20, 1991           Oct. 13, 1987
11             US                5,103,498        Apr. 7, 1992            Aug. 2, 1990
               US                5,265,014        Nov. 23, 1993           Apr. 10, 1990
12             US                5,317,646        May 31, 1994            Mar. 24, 1992
               US                5,357,431        Oct. 18, 1994           Jan. 25, 1993
13             US                5,386,298        Jan. 31, 1995           Apr. 26, 1993
               US                5,396,419        Mar. 7, 1995             Sep. 8, 1992
14             US                5,455,901         Oct. 3, 1995           Sep. 12, 1994
               US                5,459,488        Oct. 17, 1995           Jan. 19, 1993
15             US                5,479,536        Dec. 26, 1995           Nov. 27, 1991
               US                5,495,565        Feb. 27, 1996           June 21, 1994
16             US                5,513,308        Apr. 30, 1996            Sep. 1, 1993
               US                5,537,618        July 16, 1996           Dec. 23, 1993
17             US                5,555,496        Sep. 10, 1996            May 6, 1994
               US                5,557,515        Sep. 17, 1996           Aug. 11, 1989
18             US                5,574,482        Nov. 12, 1996           May 17, 1994
               US                5,608,898        Mar. 4, 1997            Nov. 12, 1992
19             US                5,619,708        Apr. 8, 1997            Oct. 25, 1994
20             US                5,623,681        Apr. 22, 1997           Nov. 19, 1993
               US                5,632,022        May 20, 1997            Nov. 13, 1991
21             US                5,644,735         July 1, 1997           May 27, 1992
               US                5,675,362         Oct. 7, 1997           Nov. 14, 1988
22             US                5,682,510        Oct. 28, 1997           Mar. 30, 1995
               US                5,682,538        Oct. 28, 1997           Aug. 12, 1994
23             US                5,704,029        Dec. 30, 1997           May 23, 1994
               US                5,724,449        Mar. 3, 1998            Nov. 27, 1991
24             US                5,748,512        May 5, 1998             Feb. 28, 1995

25      1
          To the extent one or more prior art patents, publications, or systems are identified in the
26 claim charts attached as Exhibits A-H to this document, but are not included in the tables and lists
   below for each patent, those prior art patents, publications, or systems should also be considered
27 as prior art to the asserted patents.
       2
          Samsung incorporates by reference all prior art references cited in the patents listed herein
28 and/or their file histories.

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                                             SAMSUNG’S PATENT LOCAL RULE 3-3 AND 3-4 DISCLOSURES
      Case 5:12-cv-00630-LHK Document 594-2 Filed 06/11/13 Page 4 of 38




 1          Country of        Patent Number          Date of Issue            Priority Date
             Origin
 2             US                5,752,054           May 12, 1998              June 6, 1995
               US                5,799,107           Aug. 25, 1998            Oct. 15, 1997
 3             US                5,805,676            Sep. 8, 1998            May 19, 1995
               US                5,818,437            Oct. 6, 1998            July 26, 1995
 4             US                5,835,635           Nov. 10, 1998            June 27, 1995
               US                6,008,799           Dec. 28, 1999            May 24, 1994
 5             US                6,018,342           Jan. 25, 2000             July 3, 1995
               US                7,136,710           Nov. 14, 2006            Dec. 23, 1991
 6
                   2.       Publications3
 7

 8                  Title                  Date of             Author              Publisher
                                         Publication
 9      A Modular and Flexible            July 1994        Oliver Christ        Cornell
        Architecture for an                                                     University
10      Integrated Corpus Query
        System
11      A Pen-Based Database                  1994         Rafael Alonso        Institute of
        Interface for Mobile                               and V.S. Mani        Electrical and
12      Computers                                                               Electronics
                                                                                Engineers
13      Adaptive and Predictive               1987         Andrew L.            Informa
        Techniques in a                                    Swiffin, John L.     Healthcare
14      Communication Prosthesis                           Arnott, J.
                                                           Adrian
15                                                         Pickering, and
                                                           Alan F. Newell
16      Adaptive predictive text              1989         John Darragh,        University of
        generation and the reactive                        John Joseph          Calgary
17      keyboard
        A Stylus-Based User                 June 1991      Aaron                Massachusetts
18      Interface for Text: Entry and                      Goodisman            Institute of
        Editing                                                                 Technology
19      Adaptive predictive text              1991         John J. Darragh      Elsevier
        generation and the reactive                        and Ian H.
20      keyboard                                           Witten
        Context and Orientation in            1989         Kenneth Utting       Association for
21      Hypermedia Networks                                and Nicole           Computing
                                                           Yankelovich          Machinery
22      Designing the User Interface          1992         Ben                  Addison-
                                                           Schneiderman         Wesley
23      Enhancing the Usability of          Dec. 1983      Alison Lee and       Association for
        an Office Information                              F.H. Lochovsky       Computing
24      System Through Direct                                                   Machinery
        Manipulation
25      Facilitating the                    Nov. 1989      Daniel S.            Association for
        Development of                                     Jordan, Daniel       Computing
26      Representations in                                 M. Russell,          Machinery
        Hypertext with IDE                                 Anne-Marie S.
27
        3
          Samsung incorporates by reference all prior art references identified in the publications
28 listed herein.

                                                   -6-                     Case No. 12-cv-00630-LHK
                                             SAMSUNG’S PATENT LOCAL RULE 3-3 AND 3-4 DISCLOSURES
     Case 5:12-cv-00630-LHK Document 594-2 Filed 06/11/13 Page 5 of 38




 1                Title                Date of           Author           Publisher
                                     Publication
 2                                                   Jensen, and
                                                     Russell A.
 3                                                   Rogers
       IBM Simon User's Manual          1994                           IBM
 4     Investigations into History    Apr. 1992      Alison Lee        University of
       Tools for User Support                                          Toronto
 5     Marquise: Creating             Apr. 1993      Brad A. Myers,    Association for
       Complete User Interfaces by                   Richard G.        Computing
 6     Demonstration                                 McDaniel, and     Machinery
                                                     David S. Kosbie
 7     Microsoft Foundation Class        1993        Jim Conger        Waite Group
       Primer                                                          Press
 8     Pen Computing: A               July 1995      Andre Meyer       Association for
       Technology Overview and a                                       Computing
 9     Vision                                                          Machinery
       Predictive interfaces: What    Nov. 1991    Saul Greenberg,     University of
10     will they think of next?                    John Darragh,       Calgary
                                                   David Maulsby,
11                                                 and Ian H.
                                                   Witten
12     Predictive interfaces: What       1995      Saul Greenberg,     Association for
       will they think of next?                    John Darragh,       Computing
13                                                 David Maulsby,      Machinery
                                                   and Ian H.
14                                                 Witten
       Reducing Keystroke Counts         1982      Ian H. Witten,      Institute of
15     with a Predictive Computer                  John G. Cleary,     Electrical and
       Interface                                   John J. Darragh,    Electronics
16                                                 and David R.        Engineers
                                                   Hill
17     Software Interface for the    Dec. 20, 1990 Joseph A.           Defense
       Touch-Sensitive Menu of                     Molnar and          Technical
18     the Technician's Assister                   Sonia Faletti       Information
       System                                                          Center
19     Split Menus: Effectively       Mar. 1994      Andrew Sears      Association for
       Using Selection Frequency                     and Ben           Computing
20     to Organize Menus                             Schneiderman      Machinery
21     Supporting command reuse:      Feb. 1993      Saul Greenberg    Academic Press
       empirical foundations and                     and Ian H.
22     principles                                    Witten
       Supporting Command             Feb. 1993      Saul Greenberg    Academic Press
23     Reuse: Mechanisms for                         and Ian H.
       Reuse                                         Witten
24     The Computer User as              1993        Saul Greenberg    Cambridge
       Toolsmith: The Use, Reuse,                                      University Press
25     and Organization of
       Computer-based Tools
26     The Design of a Graphical     Feb. 25, 1994   Joslyn A.A.       University of
       Browsing Interface for a                      Smith             New Brunswick
27     Hypertext System
       The Human Factors of           Dec. 1980      James D. Foley    Defense
28     Graphic Interaction: Tasks                    and Peggy Chan    Technical

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                                        SAMSUNG’S PATENT LOCAL RULE 3-3 AND 3-4 DISCLOSURES
     Case 5:12-cv-00630-LHK Document 594-2 Filed 06/11/13 Page 6 of 38




 1                  Title                  Date of           Author            Publisher
                                         Publication
 2      and Techniques                                                     Information
                                                                           Center
 3      The Information Grid: A          Nov. 1992      Ramana Rao,        Association for
        Framework for Information                       Stuart K. Card,    Computing
 4      Retrieval and Retrieval-                        Herbert D.         Machinery
        Centered Applications                           Jellinek, Jock D.
 5                                                      Mackinlay, and
                                                        George G.
 6                                                      Robertson
        The XKWIC User Manual           Aug. 2, 1995    Oliver Christ     Institut für
 7                                                                        maschinelle
                                                                          Sprachverarbeit
 8                                                                        ung, Universität
                                                                          Stuttgart
 9      Tools for Supporting the         Nov. 1992      James R. Rhyne Association for
        Collaborative Process                           and Catherine     Computing
10                                                      G. Wolf           Machinery
        Touch-sensitive screens: the        1986        J.A. Pickering    Elsevier
11      technologies and their
        application
12      User modeling in interactive        1984        Saul Greenberg     University of
        computer systems                                and Ian H.         Calgary
13                                                      Witten
        Using a touchscreen for             1990        John D. Gould,     IBM T.J.
14      simple tasks                                    Sharon L.          Watson
                                                        Greene, Stephen    Research Center
15                                                      J. Boies,
                                                        Antonia
16                                                      Meluson and
                                                        Manvan
17                                                      Rasamny
        Using Graphic History in          May 1995      Eric Z. Ayers      Georgia
18      Browsing the World Wide                         and John T.        Institute of
        Web                                             Stasko             Technology
19
                   3.       Systems
20

21          All versions of the following prior art systems commercially sold, publicly known or used

22 before the priority date of the '502 Patent, including documents and source code describing the

23 same:

24                Windows 95 Preview Program Builds

25          Samsung reserves the right to amend these invalidity contentions to assert these references

26 depending on the claim construction and infringement positions Apple may take as the case

27 proceeds. Moreover, Samsung reserves the right to use these references in combination with other

28

                                                 -8-                     Case No. 12-cv-00630-LHK
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      Case 5:12-cv-00630-LHK Document 594-2 Filed 06/11/13 Page 7 of 38




 1 references to render the claims of the '502 Patent obvious in the event Apple takes the position that

 2 certain claim limitations are missing from the references charted in Exhibit A.

 3          B.      Local Patent Rule 3-3(b): Whether Each Item Anticipates or Renders
                    Obvious the Asserted Claims
 4
            Plaintiff asserts claims 1-2, 4-5, 8, 11, 13-17, 20, 22-24 and 26 of the '502 Patent against
 5
     Samsung in this lawsuit. All of those claims are invalid because the '502 Patent fails to meet one
 6
     or more of the requirements for patentability. The individual bases for invalidity are provided
 7
     below and in the claim charts attached as Exhibit A. Each of the foregoing listed prior art
 8
     documents, the underlying work, and/or the underlying apparatus or method qualifies as prior art
 9
     under one or more sections of 35 U.S.C. § 102 and/or 35 U.S.C. § 103.
10
            Although Samsung has identified at least one citation per limitation for each reference,
11
     each and every disclosure of the same limitation in the same reference is not necessarily identified.
12
     Rather, in an effort to focus the issues, Samsung has generally cited representative portions of
13
     identified references, even where a reference may contain additional support for a particular claim
14
     element. In addition, persons of ordinary skill in the art generally read a prior art reference as a
15
     whole and in the context of other publications and literature. Thus, to understand and interpret any
16
     specific statement or disclosure within a prior art reference, such persons would rely on other
17
     information within the reference, along with other publications and their general scientific
18
     knowledge. Samsung may rely upon uncited portions of the prior art references and on other
19
     publications and expert testimony to provide context, and as aids to understanding and interpreting
20
     the portions that are cited. Samsung may also rely on uncited portions of the prior art references,
21
     other disclosed publications, and the testimony of experts to establish that a person of ordinary
22
     skill in the art would have been motivated to modify or combine certain of the cited references so
23
     as to render the claims obvious.
24
                    1.      Anticipation
25
            Some or all of the asserted claims of the '502 Patent are invalid as anticipated under 35
26
     U.S.C. § 102 in view of each of the prior art references identified above and in the claim charts
27
     included in Exhibit A, which identify specific examples of where each limitation of the asserted
28

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                                             SAMSUNG’S PATENT LOCAL RULE 3-3 AND 3-4 DISCLOSURES
      Case 5:12-cv-00630-LHK Document 594-2 Filed 06/11/13 Page 8 of 38




 1           Each of those claim limitations is governed by 35 U.S.C. section 112, paragraph 6. The

 2 '414 patent specification, however, fails to set forth the structure, material or acts for

 3 accomplishing the recited function. Each of these claims is therefore invalid as indefinite under 35

 4 U.S.C. § 112(2).

 5 V.        THE '760 PATENT

 6           A.     Local Patent Rule 3-3(a): Identification of Prior Art
 7           At this time, Samsung contends that at least the following prior art references anticipate or
 8 render obvious, either alone or in combination, the asserted claims of the '760 Patent:

 9                  1.      Patent References10
10
             Country of        Patent Number        Date of Issue           Priority Date
11            Origin
                US                6,430,405         Aug. 6, 2002             Dec. 7, 1998
12              US                6,448,988         Sep. 10, 2002           Jan. 29, 1997
                US                6,526,274         Feb. 25, 2003           Oct. 25, 1999
13              US                6,542,591          Apr. 1, 2003           July 27, 2000
                US                6,549,612         Apr. 15, 2003            May 6, 1998
14              US                6,738,461         May 18, 2004            Nov. 1, 2001
                US                6,772,188         Aug. 3, 2004            July 14, 2000
15              US                6,792,082         Sep. 14, 2004           Sep. 11, 1998
                US                6,879,691         Apr. 12, 2005           May 12, 2000
16              US                6,961,420         Nov. 1, 2005            Nov. 13, 2001
                US                7,007,239         Feb. 28, 2006           Sep. 21, 2000
17              US                7,117,445          Oct. 3, 2006           June 30, 2003
                US                7,212,808          May 1, 2007            Oct. 15, 2002
18              US                7,221,748         May 22, 2007            Nov. 12, 2002
                US                7,225,409         May 29, 2007            Aug. 25, 1999
19              US                7,231,229         June 12, 2007           Mar. 16, 2003
                US                7,280,652          Oct. 9, 2007           Sep. 13, 2004
20              US                7,280,850          Oct. 9, 2007           Sep. 27, 2001
                US                7,289,614         Oct. 30, 2007           Sep. 29, 2000
21              US                7,403,767         July 22, 2008           Apr. 29, 2005
                US                7,409,050         Aug. 5, 2008            Apr. 21, 2005
22              US                7,493,567         Feb. 17, 2009           Jan. 28, 2004
                US                7,502,633         Mar. 10, 2009           Oct. 15, 2002
23              US                7,526,306         Apr. 28, 2009            Dec. 8, 2003
24              US                7,606,598         Oct. 20, 2009           Mar. 31, 2006
                US                7,680,513         Mar. 16, 2010           Aug. 8, 2005
25              US                7,623,643         Nov. 24, 2009           July 26, 2005
                US                7,680,513         Mar. 16, 2010           Aug. 8, 2005
26              US                7,685,530         Mar. 23, 2010           June 10, 2005
                US                7,715,535         May 11, 2010            Sep. 27, 2005
27
        10
          Samsung incorporates by reference all prior art references cited in the patents listed herein
28 and/or their file histories.

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                                              SAMSUNG’S PATENT LOCAL RULE 3-3 AND 3-4 DISCLOSURES
      Case 5:12-cv-00630-LHK Document 594-2 Filed 06/11/13 Page 9 of 38




 1           Country of       Patent Number         Date of Issue            Priority Date
              Origin
 2              US               7,724,887          May 25, 2010             July 21, 2005
                US               7,778,399          Aug. 17, 2010             July 2, 2004
 3              US               7,778,671          Aug. 17, 2010             Oct. 8, 2004
                US               7,779,630          Sep. 14, 2010            June 24, 2004
 4              US               7,783,283          Aug. 24, 2010             Sep. 8, 2004
                US               7,839,987          Nov. 23, 2010            Nov. 1, 2001
 5              US               7,894,597          Feb. 22, 2011            Oct. 12, 2005
                US               7,920,886           Apr. 5, 2011            Jan. 24, 2006
 6              US               7,991,432          Aug. 2, 2011              Apr. 2, 2004
                US               8,001,120          Aug. 16, 2011            Feb. 12, 2004
 7              US               8,019,388          Sep. 13, 2011             Feb. 6, 2003
 8              US               8,064,886          Nov. 22, 2011            Feb. 14, 2006
                US               8,095,879          Jan. 10, 2012            Dec. 10, 2002
 9              US               8,175,656           May 8, 2012             Feb. 24, 2006
                US             2002/0076015         June 20, 2002            Dec. 15, 2000
10              US             2002/0111991         Aug. 15, 2002            Nov. 1, 1999
                US             2002/0116464         Aug. 22, 2002            Feb. 20, 2001
11              US             2004/0137955         July 15, 2004            Oct. 15, 2002
                US             2004/0235520         Nov. 25, 2004            May 20, 2003
12              US             2005/0047562          Mar. 3, 2005            Aug. 28, 2003
                US             2005/0250483         Nov. 10, 2005             May 7, 2004
13              US             2004/0267887         Dec. 30, 2004            June 30, 2003
                US             2003/0032527         Feb. 10, 2005            Aug. 8, 2003
14              US             2005/0074109          Apr. 7, 2005            Sep. 24, 2004
                US             2005/0141686         June 30, 2005             June 7, 2004
15              US             2006/0010395         Jan. 12, 2006             July 9, 2004
                US             2006/0140189         June 29, 2006            Dec. 23, 2004
16              US             2006/0281449         Dec. 14, 2006            June 14, 2005
                US             2007/0071186         Mar. 29, 2007            Sep. 21, 2005
17              US             2007/0083600         Apr. 12,2007              Oct. 6, 2005
                US             2007/0092072         Apr. 26, 2007            Sep. 30, 2005
18              US             2007/0133771         June 14, 2007            Dec. 12, 2005
                US             2007/0243858         Oct. 18, 2007            Apr. 18, 2006
19              US             2007/0280457          Dec. 6, 2007             June 2, 2006
                US             2008/0295017         Nov. 27, 2008             Sep. 5, 2006
20
                EP               1 069 791          Jan. 17, 2001            July 13, 1999
21              EP               1 365 564          Nov. 26, 2003            Apr. 30, 2003

22                 2.       Publications11

23                  Title                  Date of            Author              Publisher
                                         Publication
24      Exploring PC-Telephone            Apr. 2004       JJ Cadiz, Attila     Association for
        Convergence with the                              Narin, Gavin         Computing
25      Enhanced Telephony                                Jancke, Anoop        Machinery
        Prototype                                         Gupta, and
26                                                        Michael Boyle
        Finger Instead of Mouse:             2003         Andreas              Springer-Verlag
27
        11
           Samsung incorporates by reference all prior art references identified in the publications
28 listed herein.

                                                   -58-                    Case No. 12-cv-00630-LHK
                                             SAMSUNG’S PATENT LOCAL RULE 3-3 AND 3-4 DISCLOSURES
     Case 5:12-cv-00630-LHK Document 594-2 Filed 06/11/13 Page 10 of 38




 1                  Title                  Date of           Author            Publisher
                                         Publication
 2      Touch Screens as a Means                        Holzinger
        of Enhancing Universal
 3      Success
        Ming User Manual                   2006                            Motorola
 4      Model 8690 Inter-Tel              Mar. 2006                        Inter-Tel
        Protocol Mode User Guide
 5      Motorola A1000 User Guide           2002                           Motorola
        Nokia 9000i User's Manual           1997                           Nokia
 6      Nokia 9110 User's Manual            1998
        P900/P908 White Paper             Dec. 2003                        Motorola
 7      pdQTM Applications                  1999                           Sony Ericsson
        Handbook
 8      TAKEphONE User Manual           June 15, 2006                      Iambic
        TealPhone User's Manual         Jan. 24, 2006                      TealPoint
 9                                                                         Software
10      The Kyocera 7135                    2002                           Kyocera
        Smartphone: Reference
11      Guide
        User's Guide Agendus for        Apr. 1, 2004                       Iambic
12      Symbian OS UIQ Edition
        Using Your Palm® TreoTM             2006                           Palm
13      700w Smartphone
        using your TreoTM 650               2004                           Palm
14      smartphone
        XPlore M98 User Manual          July 14, 2005                      Group Sense
15                                                                         PDA

16                 3.       Systems

17          All versions of the following prior art systems commercially sold, publicly known or used

18 before the priority date of the '760 Patent, including documents and source code describing the

19 same:

20                Agenda Fusion

21                Agendus Professional

22                Motorola A1200

23                TealPhone

24                Windows Mobile 5

25          Samsung reserves the right to amend these invalidity contentions to assert these references

26 depending on the claim construction and infringement positions Apple may take as the case

27 proceeds. Moreover, Samsung reserves the right to use these references in combination with other

28

                                                 -59-                    Case No. 12-cv-00630-LHK
                                           SAMSUNG’S PATENT LOCAL RULE 3-3 AND 3-4 DISCLOSURES
     Case 5:12-cv-00630-LHK Document 594-2 Filed 06/11/13 Page 11 of 38




 1 references to render the claims of the '760 Patent obvious in the event Apple takes the position that

 2 certain claim limitations are missing from the references charted in Exhibit E.

 3          B.      Local Patent Rule 3-3(b): Whether Each Item Anticipates or Renders
                    Obvious the Asserted Claims
 4
            Plaintiff asserts claims 1-5 and 7-22 of the '760 Patent against Samsung in this lawsuit. All
 5
     of those claims are invalid because the '760 Patent fails to meet one or more of the requirements
 6
     for patentability. The individual bases for invalidity are provided below and in the claim charts
 7
     attached as Exhibit E. Each of the foregoing listed prior art documents, the underlying work,
 8
     and/or the underlying apparatus or method qualifies as prior art under one or more sections of 35
 9
     U.S.C. § 102 and/or 35 U.S.C. § 103.
10
            Although Samsung has identified at least one citation per limitation for each reference,
11
     each and every disclosure of the same limitation in the same reference is not necessarily identified.
12
     Rather, in an effort to focus the issues, Samsung has generally cited representative portions of
13
     identified references, even where a reference may contain additional support for a particular claim
14
     element. In addition, persons of ordinary skill in the art generally read a prior art reference as a
15
     whole and in the context of other publications and literature. Thus, to understand and interpret any
16
     specific statement or disclosure within a prior art reference, such persons would rely on other
17
     information within the reference, along with other publications and their general scientific
18
     knowledge. Samsung may rely upon uncited portions of the prior art references and on other
19
     publications and expert testimony to provide context, and as aids to understanding and interpreting
20
     the portions that are cited. Samsung may also rely on uncited portions of the prior art references,
21
     other disclosed publications, and the testimony of experts to establish that a person of ordinary
22
     skill in the art would have been motivated to modify or combine certain of the cited references so
23
     as to render the claims obvious.
24
                    1.      Anticipation
25
            Some or all of the asserted claims of the '760 Patent are invalid as anticipated under 35
26
     U.S.C. § 102 in view of each of the prior art references identified above and in the claim charts
27
     included in Exhibit E, which identify specific examples of where each limitation of the asserted
28

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 1 DATED: August 10, 2012            QUINN EMANUEL URQUHART & SULLIVAN LLP

 2

 3                                    By /s/ Patrick M. Shields
                                        Patrick M. Shields
 4                                      Attorneys for Defendants
                                        SAMSUNG ELECTRONICS CO., LTD.,
 5                                      SAMSUNG ELECTRONICS AMERICA, INC. and
 6                                      SAMSUNG TELECOMMUNICATIONS
                                        AMERICA, LLC
 7

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                        Ex. 2
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      quinn emanuel trial lawyers | los angeles
      865 South Figueroa Street, 10th Floor, Los Angeles, California 90017-2543 | TEL: (213) 443-3000 FAX: (213) 443-3100


                                                                                                                         WRITER'S DIRECT DIAL NO.
                                                                                                                                   (213) 443-3227

                                                                                                                   WRITER'S INTERNET ADDRESS
                                                                                                              michaelfazio@quinnemanuel.com




March 20, 2013


Michael A. Valek
2100 McKinney Avenue
Dallas, Texas 75201-6912

Re:      Apple v. Samsung Elecs. Co. et al, Case No 12-cv-630 (N.D.Cal.)

Dear Counsel:

I write to follow-up on the parties’ March 12 and March 18, 2013 telephonic meet and confers.
During the meet and confers, the parties’ discussed both Samsung and Apple interrogatories.
The parties agreed on dates on which to exchange supplemental responses as set forth in the
following table.


     Samsung                     Apple                                           Supplemental Response Due
  Interrogatory             Interrogatory
  1                         11                         April 10, 2013
  2, 3                      12, 13                     April 10, 2013
  11, 5                      15, 20                    April 30, 2013
  10                        19                         April 10, 2013
  5                         20                         April 30, 2013
  12                        24                         April 30, 2013
  18                        29                         April 30, 2013
  7                         23                         April 10, 2013
  8, 14                     17, 26                     April 30, 2013
  16                        28                         April 1, 2013




       quinn emanuel urquhart & sullivan, llp
       NEW YORK | 51 Madison Avenue, 22nd Floor, New York, New York 10010-1601 | TEL (212) 849-7000 FAX (212) 849-7100
       SAN FRANCISCO | 50 California Street, 22nd Floor, San Francisco, California 94111-4788 | TEL (415) 875-6600 FAX (415) 875-6700
       SILICON VALLEY | 555 Twin Dolphin Drive, 5th Floor, Redwood Shores, California 94065-2139 | TEL (650) 801-5000 FAX (650) 801-5100
       CHICAGO | 500 W. Madison Street, Suite 2450, Chicago, Illinois 60661-2510 | TEL (312) 705-7400 FAX (312) 705-7401
       WASHINGTON, DC | 1299 Pennsylvania Avenue NW, Suite 825, Washington, District of Columbia 20004-2400 | TEL (202) 538-8000 FAX (202) 538-8100
       LONDON | 16 Old Bailey, London EC4M 7EG, United Kingdom | TEL +44 20 7653 2000 FAX +44 20 7653 2100
       TOKYO | NBF Hibiya Building, 25F, 1-1-7, Uchisaiwai-cho, Chiyoda-ku, Tokyo 100-0011, Japan | TEL +81 3 5510 1711 FAX +81 3 5510 1712
       MANNHEIM | Mollstraße 42, 68165 Mannheim, Germany | TEL +49 621 43298 6000 FAX +49 621 43298 6100
       MOSCOW | Voentorg Building, 3rd Floor, 10 Vozdvizhenka Street, Moscow 125009, Russia | TEL +7 495 797 3666 FAX +7 495 797 3667
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With regard to Samsung Interrogatory No. 6 and Apple Interrogatory No. 18, the parties agreed
that citations under Federal Rule of Civil Procedure 33(d) to each patents’ respective file
wrapper would constitue a sufficent response.

The parties also agreed that their respective supplemental responses to Samsung Interrogatory
No. 16 and Apple Interrogatory No. 28 due on April 1 would be limited to up to three individuals
with knowledge regarding each affirmative defense. The parties agreed that supplemental
responses to Samsung’s Interrogatory Nos. 8 and 14, and Apple’s Interrogatory Nos. 17 and 26
would be limited to citations under Federal Rule of Civil Procedure 33(d), except that
responsive, non-written communications, if any, will be described.

Lastly, the parties agreed to discuss Samsung Interrogatory No. 26 and Apple Interrogatories
Nos. 37 and 38 at the non-lead trial counsel meet and confer on March 21, 2013.

With respect to each interrogatory, both parties stated that fact discovery is on-going, and reserve
the right to further supplement their responses pursuant to Federal Rule of Civil Procedure 26(e).

 Very truly yours,




 Michael L. Fazio




                                                 2
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                        Ex. 3
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 1 QUINN EMANUEL URQUHART &                        STEPTOE & JOHNSON, LLP
   SULLIVAN, LLP                                   John Caracappa (pro hac vice)
 2 Charles K. Verhoeven (Bar No. 170151)           jcaracappa@steptoe.com
   charlesverhoeven@quinnemanuel.com               1330 Connecticut Avenue, NW
 3 Kevin A. Smith (Bar No. 250814)
   kevinsmith@quinnemanuel.com                     Washington, D.C. 20036
 4 50 California Street, 22nd Floor                Telephone: (202) 429-6267
   San Francisco, California 94111                 Facsimile: (202) 429-3902
 5 Telephone: (415) 875-6600
   Facsimile: (415) 875-6700
 6
   Kevin P.B. Johnson (Bar No. 177129)
 7 kevinjohnson@quinnemanuel.com
   Victoria F. Maroulis (Bar No. 202603)
 8 victoriamaroulis@quinnemanuel.com
   555 Twin Dolphin Drive, 5th Floor
 9 Redwood Shores, California 94065
   Telephone: (650) 801-5000
10 Facsimile: (650) 801-5100

11 William C. Price (Bar No. 108542)
   williamprice@quinnemanuel.com
12 865 South Figueroa Street, 10th Floor
   Los Angeles, California 90017-2543
13 Telephone: (213) 443-3000
   Facsimile: (213) 443-3100
14
   Attorneys for SAMSUNG ELECTRONICS
15 CO., LTD., SAMSUNG ELECTRONICS
   AMERICA, INC. and SAMSUNG
16 TELECOMMUNICATIONS AMERICA, LLC

17
                                 UNITED STATES DISTRICT COURT
18
                  NORTHERN DISTRICT OF CALIFORNIA, SAN JOSE DIVISION
19
     APPLE INC., a California corporation,         CASE NO. 12-CV-00630-LHK
20
                   Plaintiff,
21                                                 SAMSUNG’S SECOND AMENDED
            vs.                                    PATENT LOCAL RULE 3-3 AND 3-4
22                                                 DISCLOSURES
   SAMSUNG ELECTRONICS CO., LTD., a
23 Korean business entity; SAMSUNG                 HIGHLY CONFIDENTIAL –
   ELECTRONICS AMERICA, INC., a New                ATTORNEYS’ EYES ONLY
24 York corporation; SAMSUNG
   TELECOMMUNICATIONS AMERICA,
25 LLC, a Delaware limited liability company,

26                 Defendants.

27

28

                                                                       Case No. 12-cv-00630-LHK
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 1 “synchronized in a peer-to-peer manner,” each refer only to programming abstractions or the

 2 manipulation of information; these are concepts, not physical objects or tangible matter.

 3                  2.      Invalidity Based on Enablement or Written Description Under 35
                            U.S.C. § 112(1) and/or Invalidity Based on Indefiniteness Under 35
 4                          U.S.C. § 112(2)
 5          Samsung asserts that each asserted claim of the ‘414 Patent is invalid in that the ‘414

 6 specification fails to particularly point out and distinctly claim the alleged invention of the ‘414

 7 Patent. Samsung further asserts that each asserted claim of the ‘414 Patent is invalid as not

 8 containing a written description of the invention, and of the manner and process of making and

 9 using it, in such full, clear, concise and exact terms as to enable any person skilled in the art to

10 which it pertains, or with which it is most nearly connected, to make and use the alleged invention.

11          Based on Samsung’s present understanding of Plaintiff’s infringement contentions,

12 Samsung asserts that the asserted claims of the ‘414 Patent are invalid under 35 U.S.C. § 112 ¶¶ 1

13 and 2 at least because they include the following claim terms/phrases:

14              •   “user-level,”
15              •   “at least one user-level non-synchronization processing thread,”
16              •   “at least one non-synchronization processing thread,”
17
                •   “the at least one user-level non-synchronization processing thread,”
18
                •   “concurrently with,”
19
                •   “first store associated with a first database,”
20
                •   “user interface to allow a user to access and edit structured data in a first store
21
                    associated with a first database,”
22
                •   “one synchronization processing thread,”
23
                •   “synchronization software component which is configured to synchronize the
24                  structured data from the first database with the structured data from a second
                    database,”
25
                •   “a lock on the first store,”
26

27              •   “releases the lock after synchronization for a first data class is completed,”

28              •   “synchronized in a peer-to-peer manner,” and

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 1              •   “synchronize structured data of a first data class and other synchronization software
                    components are configured to synchronize structured data of other corresponding
 2                  data classes.”
 3
     These claim terms/phrases as apparently construed by Apple violate the written description,
 4
     enablement, and/or definiteness requirements of 35 U.S.C. § 112 ¶¶ 1 and 2. For instance, the
 5
     term “peer-to-peer” is broader than and inconsistent with the alleged invention disclosed in the
 6
     specification, and given Apple’s infringement contentions, one of ordinary skill in the art would
 7
     not understand what Apple has claimed. Additionally, claims 7 and 17 of the ‘414 patent are
 8
     invalid because they lack a proper antecedent basis for at least the term “first and second data
 9
     processing systems.” As another example, the ‘414 patent contains no written description,
10
     disclosure, or teaching of execution “wherein the at least one user-level non-synchronization
11
     processing thread is provided by a user application which provides a user interface to allow a user
12
     to access and edit structured data in a first store associated with a first database,” or of “executing
13
     at least one synchronization processing thread concurrently with the executing of the at least one
14
     user-level non-synchronization processing thread” as claimed in the ‘414 patent, including as
15
     claimed in claims 1, 4 and 6. Likewise, the ‘414 patent contains no written description, disclosure,
16
     or teaching of executing a non-synchronization processing thread “concurrently with” a
17
     synchronization processing thread, under Apple’s construction and interpretation of that term,
18
     which requires that the non-synchronization processing thread and the synchronization processing
19
     thread are both active during an overlapping time interval.
20
            Based on Samsung’s present understanding of Plaintiff’s infringement contentions, at least
21
     one or more of these claim terms/phrases are indefinite because they are inconsistent with and
22
     broader than the alleged invention disclosed in the specification and given Plaintiff’s apparent
23
     constructions of the claims, any person of ordinary skill in the art at the time of the invention
24
     would not understand what is claimed, even when the claims are read in light of the specification.
25
     As one example, claim 27 is indefinite because it uses the term “the at least one user-level non-
26
     synchronization processing thread” without antecedent basis. In light of this language, a person of
27
     ordinary skill in the art would not be able to ascertain the metes and bounds of claim 27. For
28

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 1 example, a person of ordinary skill in the art would be confused about whether the limitation is

 2 intended to qualify the “at least one non-synchronization processing thread” previously recited in

 3 claim 27, or to introduce an entirely new limitation into the scope of the claim. Moreover, based

 4 on Samsung’s present understanding of Plaintiff’s infringement contentions, each of the asserted

 5 claims in which these claim terms/phrases appear lack written description because the

 6 specification of the ‘414 Patent demonstrates that the patentee neither conceived of nor

 7 demonstrated possession of all that Apple now contends the claims cover. In addition, based on

 8 Samsung’s present understanding of Plaintiff’s infringement contentions, each of the asserted

 9 claims in which these claim terms/phrases appear are invalid because the specification fails to

10 provide sufficient disclosure to enable any person of ordinary skill in the art to which it pertains,

11 or with which it is most nearly connected, to implement the invention without undue

12 experimentation. Therefore, the claims fail to satisfy the requirements of § 112 ¶¶ 1 and 2.

13          Samsung further asserts that claims 21, 22, 31, and 32 are invalid for reciting at least the

14 following claim limitations:

15              •   “means for executing at least one user-level non-synchronization processing thread
                    that includes means for accessing structured data in a first store associated with a
16                  first database;”
17
                •   “means for executing at least one synchronization processing thread concurrently
18                  with the executing of the at least one user-level non-synchronization processing
                    thread that includes means for synchronizing the structured data from the first
19                  database with the structured data from a second database;”

20              •   “means for executing at least one non-synchronization processing thread;”
21              •   “means for accessing structured data in a first store associated with a first
22                  database;”

23              •   “means for executing at least one synchronization processing thread concurrently
                    with the executing of the at least one non-synchronization processing thread that
24                  includes means for synchronizing the structured data from the first database with
                    the structured data from a second database.”
25
            Each of those claim limitations is governed by 35 U.S.C. section 112, paragraph 6. The
26
     ‘414 patent specification, however, fails to set forth the structure, material or acts for
27

28

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 1 Perl script in MHonArc creates web content for consumption, the Sidekick was built to consume

 2 that content. These systems would work together to create content, present it to a user, and to

 3 receive content from a user and process it. As a result, a person of ordinary skill in the art would

 4 have motivation to combine these references.

 5          C.       The ‘959 Patent

 6          The ‘959 patent is also obvious in light of the state of the art and/or knowledge of a person
 7 of ordinary skill in the art, as demonstrated by relevant background prior art and references in

 8
     Exhibit C, to the extent the claims are not invalid under 35 U.S.C. §§ 101, 102 and/or 112.
 9
            As stated above, the references in Exhibits C-1 to C-20, are the Corey patent, the Legall
10
     patent, the MetaCrawler system, MultiSurf, the Neal patent, Newton , the Rubinstein patent,
11
     Sherlock, WAIS, the Bennett patent, the Evans patent, the Jensen patent, the SenseMaker system,
12
     the Smith patent, the Tung thesis, the Isite system, the ProFusion system, the CBKB system, and
13
     the Kirsch patent anticipate several of the asserted claims. To the extent these references are found
14
     to not anticipate any one of the asserted claims, they render the claims obvious, whether standing
15
     alone, or when combined with knowledge of the ordinary artisan and/or the nature of the problem
16
     to be solved.
17
            Any reference or combination of references that anticipates or renders obvious an asserted
18
     independent claim also renders obvious any asserted claim dependent on that independent claim
19
     because every element of each dependent claim was known by a person of ordinary skill at the
20
     time of the alleged invention, and it would have been obvious to combine those known elements
21
     with the independent claims at least as a matter of common sense and routine innovation.
22
            To the extent the references discussed herein or in Exhibits C-1 to C-20 are found to lack
23
     particular elements of the asserted claims, those elements would have represented mere obvious
24
     modifications of the references themselves. Each asserted claim would have been obvious in view
25
     of the primary references alone. All of the references identified in Exhibits C-1 to C-20 are in the
26
     same field of endeavor, and in particular, information and text retrieval. Further, all of these
27
     references relate to the same problem of providing the user access to particular information that
28

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 1 solutions for search. Modifying the disclosed references to include heuristic algorithms also

 2 would have been an obvious design choice implemented through known techniques that would not

 3 yield unpredictable or unexpected results. Finally, a person of skill in the art would have found

 4 express motivation to use this functionality. For example, Apple’s own U.S. Patent No. 5,477,447

 5 states that “making a guess based on upon a selected heuristic approach . . . would be well-known

 6 to one skill in the art.” (‘447 Patent at 12:16-19; see also 12:11-44.). As another example, many

 7 textbooks described these sorts of heuristic algorithms. (See for example Grossman, “Information

 8 Retrieval Algorithms and Heuristics,” 1998 (“Grossman”) and Rayward-Smith, “Modern Heuristic

 9 Search Methods,” 1996 (“Rayward”) generally.)

10          To the extent the primary references in Exhibits C-1 to C-20 are found to lack an explicit

11 teaching of each plug-in module employing “using a different heuristic to locate information,” a

12 person or ordinary skill in the art would recognize that using different heuristics was a known

13 variation on the use of algorithms to enable efficient information retrieval. For example, a person

14 of ordinary skill would have recognized that different types of searches or search locations could

15 have different characteristics such that different heuristics could have different effectiveness in

16 retrieving information. Indeed, it was well known that different databases could contain different

17 types of information and organize information in different ways. Different heuristics for searching

18 these heterogeneous databases were well known in the art. For example, “SFgate: The WWW

19 Gateway for freeWAIS-sf, Edition 1.108, for SFgate 5.1, January 1997,” Norbert Gövert and

20 Ulrich Pfeifer, University of Dortmund, Germany, 1997, discloses that “the more common case is

21 that there are different fields in different databases. The schemas of the databases differ.” Id. at

22 29 (emphasis in original). “In most cases this is due to different types of the documents stored in

23 the databases, e.g. the one database holds references to literature while another one holds product

24 descriptions.” Id. As another example, the ‘959 patent states that “web-browser applications are

25 not designed to search for non-web-based documents or applications located on the computer or an

26 associated computer network and, conversely, File Find-type utility programs are not capable of

27 searching the Internet for web-based documents or applications.” ‘959 patent at 1:66-2:4.

28 Modifying the disclosed references to incorporate this functionality would have been one of a

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 1 finite number of known solutions for information retrieval. Modifying the disclosed references to

 2 use different heuristics also would have been an obvious design choice implemented through

 3 known techniques that would not yield unpredictable or unexpected results. Finally, a person of

 4 skill in the art would have found express motivation to use this functionality. A person of

 5 ordinary skill would be motivated to combine references disclosing search functions with those

 6 describing heuristics in order to increase the efficiency, ease of use and effectiveness of the search

 7 function. Additionally, one of ordinary skill would have been motivated to use different heuristics

 8 in order to provide faster and better search results. For example, the MetaCrawler search engine

 9 uses heuristics to search local information, such as the user’s browsing history, and can use

10 different heuristics to search remote information, such as the internet, including through the use of

11 different internet search engines.

12          To the extent the primary references in Exhibits C-1 to C-20 are found to lack an explicit

13 teaching of “plug-inmodules” because the modules are part of some service or server to which the

14 application connects and not part of the application, a person or ordinary skill in the art would

15 recognize that placing plug-in modules in the application rather than as part of some service or

16 server was a known variation on the use of modules to enable efficient information retrieval.

17 Indeed, under Apple’s apparent construction of the claims, this could be achieved by installing the

18 modules locally, which was a well known design choice and was in fact done, as described in

19 Exhibits C-1 to C-20. Indeed, one of the benefits of modular design is that the modules can be

20 treated separately and thus a person of ordinary skill would understand that modules could be

21 placed in the application or a server. The use of a modular design in software was a well-known

22 design choice by the 1990’s and was widely employed in the software industry. (See, e.g.,

23 http://en.wikipedia.org/wiki/Modularity_%28programming%29.) “Traditional programming

24 languages have been used to support modular programming - since at least the 1960s.” (Id.)

25 Similarly, it would have been obvious to combine a local module with the server to which it

26 communicates to behave as the claimed “plug-in module” under Apple’s apparent construction of

27 the claims. Similarly, to the extent that Apple argues that the primary references in Exhibits C-1

28 to C-20 are lack an explicit teaching of “plug-in modules” because they comprise distributed

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 1 systems with remote “heuristics,” “modules” or “plug-in modules,” it would have been obvious

 2 for a person of ordinary skill in the art run the system entirely on one computer, making the entire

 3 system, including “heuristics,” “modules” or “plug-in modules” on the client device and thus

 4 comprising the claimed “plug-in modules each using a different heuristic to locate information.”

 5 Combining all components onto a single computer would have been a simple design choice. For

 6 example, if the different sets of searchable data were available locally, a person of ordinary skill

 7 would have been motivated to locate all the already described components described in the prior

 8 art, including plug-in modules and “plug-in modules each using a different heuristic to locate

 9 information,” on one computer rather than a more distributed design, as described in Exhibits C-1

10 to C-20.

11          Moreover, the concept of locating information, either on a local computer system or on a

12 remote network, was well known to a person of ordinary skill in the art and would be readily

13 employed by one of skill. To the extent the primary references in Exhibits C-1 to C-20 are found

14 to lack an explicit teaching of local and remote search, one of ordinary skill would have been

15 motivated to combine references disclosing local and remote search with these references.

16 Modifying the disclosed references to incorporate these techniques would have been one of a finite

17 number of known solutions for search. Modifying the disclosed references to include local and

18 remote search also would have been an obvious design choice implemented through known

19 techniques that would not yield unpredictable or unexpected results. Finally, a person of skill in

20 the art would have found express motivation to use this functionality. See, for example, Grossman

21 and Rayward. Moreover, searching remotely stored information over a network was also well

22 known. See, for example, Grossman. The ‘959 patent agrees. (‘959 patent at 1:47-53.) One of

23 skill would employ these strategies at least because they were known and predictable solutions to

24 known problems in the field of information retrieval. For the same reason, it would have been

25 obvious to locate information in a plurality of locations which include the Internet and local

26 storage media in light of the state of the art and/or knowledge of a person of ordinary skill in the

27 art, as demonstrated by the relevant background prior art and references in Exhibit C. See for

28 example Bennett and Evans. Additionally, searching over a plurality of locations was well-known

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 1 in the art, including searching a plurality of remote locations as well as searching a plurality of

 2 locations that included both local and remote locations. One of skill would understand that

 3 searching locally is simpler than searching remotely, and was well known at the time, and would

 4 consider including local search alongside remote search at least for that reason. See for example

 5 Rayward. Indeed, as the ‘959 patent acknowledges, local find operations were prevalent, such that

 6 one of skill would readily understand and appreciate that remote search techniques could be used

 7 for local search, including simultaneous local and remote search. (‘959 patent at 1:21-28.)

 8          As another example, one of ordinary skill would consider it obvious to employ, either

 9 separately or collectively, heuristics, heuristic algorithms, and heuristic modules to search or

10 locate information. Implementation of heuristics, either separately or collectively, as applied to

11 searches were established concepts prior to the invention of the ‘959 patent. To the extent the

12 primary references in Exhibits C-1 to C-20 are found to lack an explicit teaching of heuristics,

13 heuristic algorithms, or heuristic modules employed either separately or collectively with the

14 search query, one of ordinary skill would have been motivated to combine references disclosing

15 heuristics, heuristic algorithms, or heuristic modules, applied either separately or collectively, with

16 these references. Modifying the disclosed references to incorporate heuristics, heuristic

17 algorithms, or heuristic modules would have been one of a finite number of known solutions for

18 search, including applying a search query to different heuristics separately or collectively.

19 Modifying the disclosed references to include heuristics, heuristic algorithms, or heuristic modules

20 also would have been an obvious design choice implemented through known techniques that

21 would not yield unpredictable or unexpected results. Applying the search query to these heuristics

22 either separately or collectively also was a trivial variation and a known technique that would not

23 yield unpredictable or unexpected results, as shown in the references described in Exhibit C. Both

24 approaches were known solutions in the search field and well within the grasp of a person of

25 ordinary skill in the art. See Exhibit C. Finally, a person of skill in the art would have found

26 express motivation to use this functionality. For example, as early as 1983, Bagchi, “Search

27 Algorithms Under Different Kinds of Heuristics – A Comparative Study,” 1983 (“Bagchi”), stated

28 that “[h]euristic search algorithms have been quite extensively studied in the recent past by several

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 1 functionality would have been one of a finite number of known solutions for information retrieval.

 2 Modifying the disclosed references to search multiple resources, including but not limited to local

 3 and remote resources, such as the internet, also would have been an obvious design choice

 4 implemented through known techniques that would not yield unpredictable or unexpected results.

 5 Finally, a person of skill in the art would have found express motivation to use this functionality.

 6 Such a single search mechanism would enable the system to use less time searching many

 7 different locations, separately, for the same query. Doing one search of all accessible resources,

 8 including local and remote resources, was a known, common-sense, predictable solution to the

 9 problem of locating information that may be stored in multiple searchable resources. For example,

10 numerous prior art references describe searching multiple remote databases simultaneously. One

11 of ordinary skill would have been motivated to search all known searchable locations, including

12 local and remote locations, to provide convenience and ease of use. To the extent the primary

13 references in Exhibits C-1 to C-20 are found to lack “providing said information identifier to a

14 plurality of plug-in modules” because entering the same query more than once is required, it

15 would have been obvious to take the information descriptor and reuse. Indeed, this concept is well

16 known in the field and sometimes referred to as a “federated search.” (See, e.g.

17 http://en.wikipedia.org/wiki/Federated_search (“Federated search is an information retrieval

18 technology that allows the simultaneous search of multiple searchable resources. A user makes a

19 single query request which is distributed to the search engines participating in the federation. The

20 federated search then aggregates the results that are received from the search engines for

21 presentation to the user.”); Multilingual Federated Searching Across Heterogeneous Collections,

22 James Powell, D-Lib Magazine, ISSN 1082-9873, September 1998 located at

23 http://dlib.org/dlib/september98/powell/09powell.html#Federated (“The Federated Searcher is a

24 Java-based server application that mediates user queries to multiple heterogeneous search

25 engines.) For example, WAIS clients allowed users to search multiple data source while only

26 entering the query once. (See, e.g. Emerald Article: Wide Area Information Servers: An

27 Executive Information System for Unstructured Files by Kahe et al. (1992) at 61.)

28

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 1          To the extent any of the primary references in Exhibits C-1 to C-20 are found to lack an

 2 explicit teaching of the claimed plug-in modules, one of ordinary skill would have been motivated

 3 to combine references disclosing such modules with these references. Modifying the disclosed

 4 references to incorporate this functionality would have been one of a finite number of known

 5 solutions for information retrieval. Modifying the disclosed references to include “plug-in”

 6 modules also would have been an obvious design choice implemented through known techniques

 7 that would not yield unpredictable or unexpected results. Finally, a person of skill in the art would

 8 have found express motivation to use this functionality. For example, the SenseMaker, WAIS and

 9 Newton systems include plug-in modules that a person of ordinary skill would be familiar with.

10 One of skill would understand the benefits of using plug-in modules, as modular design was a

11 well-known design pattern by the 1990s. Further a person of ordinary skill would have been

12 motivated to employ plug-in modules with search software in order to provide the well-known

13 benefits of modular plug-in design: added extensibility for the system, including adding further

14 resources to be searched or changing the implementation of various search features, therein

15 providing greater ease of use and flexibility for the programmer and the end-user.

16          D.     The ‘414 Patent

17          As stated above, Evolution, the Reiher publication, the Kumar publication, Bayou, Mozilla
18 Thunderbird, the ColdSync system, Customer Explorer and the Vadlamani patent, the Terry

19 publication, iTunes, iSync, Microsoft Exchange ActiveSync, BlackBerry, the Souder patent,

20 NotifyLink, Coda, Microsoft Windows Vista, Sync, the Rashid publication, the Kast patent, and

21 Microsoft Outlook anticipate several of the asserted claims. To the extent these references are

22 found to not anticipate any one of the asserted claims, they render the claims obvious, whether

23 standing alone, or when combined with knowledge of the ordinary artisan and/or the nature of the

24 problem to be solved. Likewise, to the extent the references discussed herein or in Exhibits D-1 to

25 D-20 are found to lack particular elements of the asserted claims, those elements would have

26 represented mere obvious modifications of the references themselves.

27          Any reference or combination of references that anticipates or renders obvious an asserted
28 independent claim also renders obvious any asserted claim dependent on that independent claim

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 1 the application or any special action on the user’s part. With SMP, you can run a processor-

 2 intensive task in the background while you work with another application. Mac OS X assigns each

 3 of these tasks to a different processor or core, allowing the tasks to execute simultaneously, and

 4 automatically balances the load between processors. Preemptive multitasking further optimizes

 5 performance by allowing Mac OS X to prioritize tasks on each processor or core.” Power Mac G5

 6 Technology Overview, Apple (2005).

 7          As another example, to the extent Evolution, the Reiher publication, the Kumar

 8 publication, Bayou, Mozilla Thunderbird, the ColdSync system, Customer Explorer and the

 9 Vadlamani patent, the Terry publication, iTunes, iSync, Microsoft Exchange ActiveSync,

10 BlackBerry, the Souder patent, NotifyLink, Coda, Microsoft Windows Vista, Sync, the Rashid

11 publication, the Kast patent, and Microsoft Outlook are found not to explicitly disclose a

12 synchronization software component that provides at least one synchronization processing thread

13 and is configured to synchronize structured data from the first database with structured data from a

14 second database, modifying the disclosed systems to incorporate this functionality would have

15 been one of a finite number of known solutions for performing data synchronization. Modifying

16 the disclosed systems to incorporate a synchronization software component that provides at least

17 one synchronization processing thread and is configured to synchronize structured data from the

18 first database with structured data from a second database also would have been an obvious design

19 choice implemented through known programming techniques that would not yield unpredictable

20 or unexpected results. The prior art is replete with systems that include sync managers, sync

21 clients, sync handlers, sync conduits, sync classes, and similar components that provide

22 synchronization processing threads and are configured to synchronize structured data across

23 databases. Finally, a person of ordinary skill in the art would have found express motivation for

24 implementing these components in light of references discussed in Exhibits D-1 through D-20,

25 including but not limited to Potter, Windows Vista: Centralizing Data Synchronization With The

26 New Sync Center (October 2005), the Rashid publication, Customer Explorer and the Vadlamani

27 patent, and the U.S. Patent Application Publication No. 2006/0242609, U.S. Patent No. 6,000,000,

28 EP Patent No. 1130513, and Armin Bauer, OpenSync White Paper (2005).

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 1          For similar reasons, a person skilled in the art at the time of the invention would have

 2 found it obvious to modify the systems disclosed in Exhibits D-1 through D-20 to incorporate

 3 other synchronization software components configured to synchronize structured data of other

 4 corresponding data classes. Modifying these systems to include additional synchronization

 5 software components would have been one of a finite number of known solutions for

 6 synchronizing data from various sources such as databases, applications, and devices.

 7 Furthermore, modifying these systems to include additional synchronization software components

 8 would have been an obvious design choice implemented through known system architectures and

 9 frameworks that would not yield unpredictable or unexpected results. For example, one common

10 framework known at the time of the invention used a central sync manager or sync engine with

11 various plug-in modules, each configured to synchronize a different data class. See, e.g., Armin

12 Bauer, Open Sync White Paper (2005) at 1.2-2.2. U.S. Patent Application Publication No.

13 2006/0242609 to Potter et al. discloses a similar architecture that uses a Sync Manager to

14 coordinate multiple Sync Handlers, each configured to synchronize a different device, folder, or

15 data source. See, e.g., paragraph [0025]; see also U.S. Patent Application Publication No.

16 2006/0238652 to Parker et al. and Potter, Windows Vista: Centralizing Data Synchronization With

17 The New Sync Center (October 2005). The conduit model was another known architecture that

18 implemented multiple synchronization software components for multiple data classes, as

19 demonstrated in U.S. Patent No. 6,000,000 to Hawkins. Hawkins discloses a Sync Manager that

20 successively invokes multiple conduit libraries, each library used to synchronize a specific data

21 classes from a specific application database. See col. 5:40-6:3 and Fig. 4.

22          A person of ordinary skill in the art at the time of the invention would have found express

23 motivation to modify the references disclosed in Exhibits D-1 through D-20 to include these

24 frameworks an architectures. For example, Bauer provides express motivation for the plug-in

25 model, explaining that it is allows for synchronization of a variety of applications and devices in a

26 uniform and reusable manner. See section 1.3.1; see also U.S. Patent Application Publication No.

27 2004/0139235 to Rashid et al. Other references explain that these frameworks and architectures

28 resulted in a centralized system that allowed users and developers to perform synchronization of

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 1 multiple data classes in an organized fashion. See, e.g., U.S. Patent Application Publication No.

 2 2006/0242609 to Potter et al. at paragraphs [0013]-[0017]; see also U.S. Patent No. 7,506,006 to

 3 Vadlamani et al. at 12:63-13:24 and 20:34-24:2. And finally, a person of ordinary skill in the art

 4 would have been expressly motivated to implement multiple synchronization software

 5 components simply to provide a more robust system capable of maintain up-to-date information

 6 across a variety of applications and devices. See, e.g., U.S. Patent No. 6,000,000 to Hawkins at

 7 2:55-3:26; see also Vadlamani patent at 12:63-17:4 and EP Patent No. 1130513 at paragraphs

 8 [0039]-[0046].

 9          As another example, to the extent Evolution, the Reiher publication, the Kumar

10 publication, Bayou, Mozilla Thunderbird, the ColdSync system, Customer Explorer and the

11 Vadlamani patent, the Terry publication, iTunes, iSync, Microsoft Exchange ActiveSync,

12 BlackBerry, the Souder patent, NotifyLink, Coda, Microsoft Windows Vista, Sync, the Rashid

13 publication, the Kast patent, and Microsoft Outlook are found not to explicitly disclose at least one

14 user-level non-synchronization processing thread is provided by a user application which provides

15 a user interface to allow a user to access and edit structured data in a first store associated with a

16 first database, modifying the disclosed systems to incorporate this functionality would have been

17 one of a finite number of known solutions. For example, techniques for editing and synchronizing

18 non-structured data were applicable and adaptable to structured data. Likewise, data stores and

19 databases were well-known variations of common data structures used to store data, and

20 techniques for editing and synchronizing data in data stores and databases were readily applicable

21 and adaptable to other data structures and data classes. Thus, modifying the disclosed systems to

22 operate on structured data in a first store associated with a first database also would have been an

23 obvious design choice that would not yield unpredictable or unexpected results. Finally, a person

24 of ordinary skill in the art would have found express motivation for implementing these

25 components in light of references discussed in Exhibits D-1 through D-20, including but not

26 limited to the Rashid publication, Customer Explorer and the Vadlamani patent, and the U.S.

27 Patent Application Publication No. 2006/0242609, US Patent No. 6,000,000, EP Patent No.

28 1130513, and Armin Bauer, OpenSync White Paper.

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 1          Any such combination would yield predictable results using known techniques and would

 2 involve the simple substitution of one known, equivalent element for another. Moreover, given

 3 the many prior art references teaching providing suggestions or recommendations for mistyped

 4 words, any such combination would have had a reasonable expectation of success and would have

 5 been nothing more than the combination of known elements to achieve their known purposes in

 6 the combination. Further, such combinations would have been obvious to try because there were

 7 only a finite number of predictable solutions and/or because known work prompted the variations

 8 of predictable design incentives and/or market forces.

 9          H.     The ‘604 patent

10          The ‘604 patent is also obvious in light of the state of the art and/or knowledge of a person
11 of ordinary skill in the art, as demonstrated by relevant background prior art and references in

12 Exhibit H, to the extent the claims are not invalid under 35 U.S.C. §§ 101, 102 and/or 112.

13          The ‘604 patent specification is identical to the ‘959 patent specification, and the subject
14 matter of the ‘604 patent’s claims substantially overlaps with the subject matter of the ‘959

15 patent’s claims. As explained above, one of skill would be motivated to combine references in a

16 manner that renders the asserted claims of the ‘959 patent obvious. The same is true for the

17 asserted claims of the ‘604 patent, for substantially the same reasons, and Samsung incorporates

18 its discussion of the ‘959 patent’s obviousness herein as support for its contentions regarding the

19 obviousness of the ‘604 patent’s claims.

20          As stated above, the reference in Exhibits H-1 to H-20, the Corey patent, the Legall patent,
21 the MetaCrawler system, MultiSurf, the Neal patent, Newton , the Rubinstein patent, Sherlock,

22 WAIS, the Bennett patent, the Evans patent, the Jensen patent, the SenseMaker system, the Smith

23 patent, the Tung thesis, the BugsEye / Neal system, the Isite system, the ProFusion system, the

24 CBKB system, and the Kirsch patent anticipate several of the asserted claims. To the extent these

25 references are found to not anticipate any one of the asserted claims, they render the claims

26 obvious, whether standing alone, or when combined with knowledge of the ordinary artisan and/or

27 the nature of the problem to be solved.

28

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 1 search key has been entered, the search function actuated, and a completed compilation produced.”

 2 (Siitonen at 2:51-67.) Another example is provided by U.S. Patent No. 6,055,531 (“Bennett”).

 3 Bennett states “[s]earching may be conducted on natural language or boolean front-ends which

 4 provide virtually instant feed-back as to the value of a search formulation before and after any

 5 ‘searching’ actually occurs.” (Bennett at Abstract.) For example, Bennett discloses that via

 6 incremental searching, the user is “automatically updated as to the number of database units that

 7 meet the currently displayed boolean search.” (Bennett at 16:57-59.) Bennett explains: “As the

 8 displayed search changes, the terminal 15 automatically updates the displayed number of

 9 hits.” (Bennett at 16:62-64.)

10          To the extent the primary references in Exhibits H-1 to H-20 are found to lack an explicit

11 teaching of heuristics or heuristic algorithms, including pre-determined heuristic algorithms, a

12 person or ordinary skill in the art would recognize that the claimed heuristics and heuristic

13 algorithms were a mere known variations on theme of the use of different methods of search,

14 including heuristics to enable efficient information retrieval. Modifying the disclosed references

15 to incorporate this functionality would have been one of a finite number of known solutions for

16 information retrieval. Modifying the disclosed references to use heuristics or heuristic algorithms

17 also would have been an obvious design choice implemented through known techniques that

18 would not yield unpredictable or unexpected results. Finally, a person of skill in the art would

19 have found express motivation to use this functionality. A person of ordinary skill would be

20 motivated to combine references disclosing search functions with those describing heuristics and

21 heuristic search algorithms in order to increase the efficiency, ease of use and effectiveness of the

22 search function. For example, Apple’s own U.S. Patent No. 5,477,447 states that “‘making a

23 guess based on upon a selected heuristic approach . . . would be well-known to one skill in the

24 art.”‘ (‘447 Patent at 12:16-19; see also 12:11-44.). As another example, many textbooks

25 described these sorts of heuristic algorithms. (See for example Grossman, “‘Information Retrieval

26 Algorithms and Heuristics,”‘ 1998 (“‘Grossman”‘) and Rayward-Smith, “‘Modern Heuristic

27 Search Methods,”‘ 1996 (“‘Rayward”‘) generally.)

28

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 1          ’’“‘”‘‘To the extent the primary references in Exhibits H-1 to H-20 are found to lack an

 2 explicit teaching of each heuristic module employing “‘a different, predetermined heuristic

 3 algorithm corresponding to said respective area,”‘ a person or ordinary skill in the art would

 4 recognize that using different, predetermined heuristic algorithms was a known variation on the

 5 use of algorithms to enable efficient information retrieval. For example, a person of ordinary skill

 6 would have recognized that different areas of search could have different characteristics such that

 7 different heuristic algorithms could have different effectiveness in retrieving information. Indeed,

 8 it was well known that different databases could contain different types of information and

 9 organize information in different ways. Different heuristic algorithms for searching these

10 heterogeneous databases were well known in the art. For example, “‘SFgate: The WWW Gateway

11 for freeWAIS-sf, Edition 1.108, for SFgate 5.1, January 1997,”‘ Norbert Gövert and Ulrich

12 Pfeifer, University of Dortmund, Germany, 1997, discloses that “‘the more common case is that

13 there are different fields in different databases. The schemas of the databases differ.”‘ Id. at 29

14 (emphasis in original). “‘In most cases this is due to different types of the documents stored in the

15 databases, e.g. the one database holds references to literature while another one holds product

16 descriptions.”‘ Id. As another example, the ‘604 patent states that “‘web-browser applications are

17 not designed to search for non-web-based documents or applications located on the computer or an

18 associated computer network and, conversely, File Find-type utility programs are not capable of

19 searching the Internet for web-based documents or applications.”‘ ‘604 patent at 2:5-9.

20 Modifying the disclosed references to incorporate this functionality would have been one of a

21 finite number of known solutions for information retrieval. Modifying the disclosed references to

22 use different, predetermined heuristic algorithms also would have been an obvious design choice

23 implemented through known techniques that would not yield unpredictable or unexpected results.

24 Finally, a person of skill in the art would have found express motivation to use this functionality.

25 A person of ordinary skill would be motivated to combine references disclosing search functions

26 with those describing different, predetermined heuristics and heuristic search algorithms in order

27 to increase the efficiency, ease of use and effectiveness of the search function. Additionally, one

28 of ordinary skill would have been motivated to use different heuristics for different areas of

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 1 searchable information, in order to provide faster and better search results. For example, the

 2 MetaCrawler search engine uses heuristics to search local information, such as the user’s browsing

 3 history, and can use different heuristics to search remote information, such as the internet,

 4 including through the use of different internet search engines.

 5          To the extent the primary references in Exhibits H-1 to H-20 are found to lack an explicit

 6 teaching of heuristic modules, a person or ordinary skill in the art would recognize that the

 7 claimed “heuristic modules” were a mere known variations on a theme of the use of heuristics in

 8 search as well as modular programming. Modifying the disclosed references to incorporate this

 9 functionality would have been one of a finite number of known solutions for information retrieval.

10 Modifying the disclosed references to include heuristic modules also would have been an obvious

11 design choice implemented through known techniques that would not yield unpredictable or

12 unexpected results. Finally, a person of skill in the art would have found express motivation to

13 use this functionality.   As described above, both were well known in the art and already

14 combined in various systems such as Apple’s own Newton product, which contained heuristic

15 modules as described in Exhibit H-6. Similarly, further examples include MetaCrawler,

16 MultiSurf, the WAIS system and Smith reference, which also included the claimed “heuristic

17 modules.” A person of ordinary skill would be motivated to combine any of the prior art

18 references identified above with those that disclose heuristic modules to increase the modularity of

19 the software, which, as described above, provides numerous benefits to the programmer and end-

20 user, including “separation of concerns.”

21          To the extent the primary references in Exhibits H-1 to H-20 are found to lack an explicit

22 teaching of “heuristic modules” because the modules are part of some service or server to which

23 the application connects and not part of the application, a person or ordinary skill in the art would

24 recognize that placing heuristic modules in the application rather than as part of some service or

25 server was a known variation on the use of heuristic modules to enable efficient information

26 retrieval. Indeed, under Apple’s apparent construction of the claims, this could be achieved by

27 installing the modules locally, which was a well known design choice and was in fact done, as

28 described in Exhibits H-1 to H-20. Indeed, one of the benefits of modular design is that the

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 1 modules can be treated separately and thus a person of ordinary skill would understand that

 2 modules could be placed in the application or a server. The use of a modular design in software

 3 was a well-known design choice by the 1990’s and was widely employed in the software industry.

 4 (See, e.g., http://en.wikipedia.org/wiki/Modularity_%28programming%29.) “Traditional

 5 programming languages have been used to support modular programming - since at least the

 6 1960s.” (Id.) Similarly, it would have been obvious to combine a local module with the server to

 7 which it communicates to behave as the claimed “heuristic module” under Apple’s apparent

 8 construction of the claims. Similarly, to the extent that Apple argues that the primary references in

 9 Exhibits H-1 to H-20 are lack an explicit teaching of “heuristic modules” because they comprise

10 distributed systems with remote “heuristics,” “modules” or “heuristic modules,” it would have

11 been obvious for a person of ordinary skill in the art run the system entirely on one computer,

12 making the entire system, including “heuristics,” “modules” or “heuristic modules” on the client

13 device and thus comprising the claimed “heuristic modules” with “different, predetermined

14 heuristic algorithm corresponding to said respective area.” Combining all components onto a

15 single computer would have been a simple design choice. For example, if the different sets of

16 searchable data were available locally, a person of ordinary skill would have been motivated to

17 locate all the already described components described in the prior art, including modules, heuristic

18 modules, and “different, predetermined heuristic algorithm corresponding to said respective area,”

19 on one computer rather than a more distributed design, as described in Exhibits H-1 to H-20.

20          Further, a person of skill in the art would have been motivated to include incremental

21 searching as a feature. Modifying the disclosed references to incorporate this functionality would

22 have been one of a finite number of known solutions for information retrieval. Modifying the

23 disclosed references to provide incremental searching also would have been an obvious design

24 choice implemented through known techniques that would not yield unpredictable or unexpected

25 results. Finally, a person of skill in the art would have found express motivation to use this

26 functionality. The art provides numerous examples of the advantages to combining incremental

27 searching with search functionalities. One example is U.S. Patent No. 6,055,531

28 (“Bennett”). Bennett observes that an desirable feature of searching is the “virtually instant feed-

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 1 back as to the value of a search formulation before and after any “searching” actually occurs.”

 2 (Bennett at Abstract.) Bennett explains an implementation of incremental searching and its

 3 inherent advantages:

 4          As operators, additional words and parenthesis are added to the search, the attorney is
            automatically updated as to the number of database units that meet the currently displayed
 5          boolean search. In fact, the boolean search window 81 provides counters 82 which
            indicate the current number of database units and hits based on the currently displayed
 6
            search or based on a selected sub-portion thereof. As the displayed search changes, the
 7          terminal 15 automatically updates the displayed number of hits. Based on the hit number,
            the attorney may choose to select additional search words and/or operators or simplify the
 8          current search to obtain a reviewable number of hits.
 9 (Bennett at 16:56-67.) As Bennett states, the advantages of incremental searching allow a user to

10 modify or select the search as the search results are updated as a user adds to his search. Bennett’s

11 characterization of such “virtually instant feed-back” would motivate a person of skill to add

12 incremental searching to search functionalities.

13          The ability to search multiple resources, including but not limited to local and remote
14 resources, such as the internet, was also known in the art, as describe above. A person of ordinary

15 skill would have been motivated to combine references disclosing search of one resource with a

16 search facility that searched all resources available at once, including local and remote resources.

17 Modifying the disclosed references to incorporate this functionality would have been one of a

18 finite number of known solutions for information retrieval. Modifying the disclosed references to

19 ability to search multiple resources, including but not limited to local and remote resources, such

20 as the internet also would have been an obvious design choice implemented through known

21 techniques that would not yield unpredictable or unexpected results. Finally, a person of skill in

22 the art would have found express motivation to use this functionality. Such a single search

23 mechanism would enable the system to use less time searching many different locations,

24 separately, for the same query. Doing one search of all accessible resources, including local and

25 remote systems, would have been a common-sense solution to the problem of multiple searchable

26 resources of information available to the designer. For example, numerous prior art references

27 describe searching multiple remote databases in the art. One of ordinary skill, if he or she had

28 available a set of locally stored information would have been motivated to include that information

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 1 to be searched as well in order to provide convenience and ease of use for the user in searching for

 2 a given piece of information. Thus, a person of ordinary skill would have been motivated to

 3 combine references disclosing only local searching or only remote searching with one-another.

 4 Providing a single search mechanism to access many different storage locations or types of

 5 information also assists users in locating information when they are unaware or uncertain of where

 6 the most relevant location resides—so instead of multiple searches with the same query, the use.

 7 To the extent the primary references in Exhibits H-1 to H-20 are found to lack “providing said

 8 information descriptor received from the user-input device to a plurality of heuristic modules”

 9 because entering the same query more than once is required, it would have been obvious to take

10 the information descriptor and reuse. Indeed, this concept is well known in the field and

11 sometimes referred to as a “federated search.” (See, e.g.

12 http://en.wikipedia.org/wiki/Federated_search (“Federated search is an information retrieval

13 technology that allows the simultaneous search of multiple searchable resources. A user makes a

14 single query request which is distributed to the search engines participating in the federation. The

15 federated search then aggregates the results that are received from the search engines for

16 presentation to the user.”); Multilingual Federated Searching Across Heterogeneous Collections,

17 James Powell, D-Lib Magazine, ISSN 1082-9873, September 1998 located at

18 http://dlib.org/dlib/september98/powell/09powell.html#Federated (“The Federated Searcher is a

19 Java-based server application that mediates user queries to multiple heterogeneous search

20 engines.) For example, WAIS clients allowed users to search multiple data source while only

21 entering the query once. (See, e.g. Emerald Article: Wide Area Information Servers: An

22 Executive Information System for Unstructured Files by Kahe et al. (1992) at 61.)

23                           PATENT LOCAL RULE 3-4 DISCLOSURES
24          Pursuant to Patent Rule 3-4(a), Defendants will produce, make available for inspection, or

25 identify publicly available information sufficient to show the operation of any specifically

26 identified aspects or elements of an Accused Instrumentality identified by Plaintiff in its Patent

27 L.R. 3-1(c) chart to the extent such information is in Defendants’ possession, custody or control.

28 If such information comprises source code, Defendants will make such source code available for

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 1 DATED: April __, 2013                     QUINN EMANUEL URQUHART & SULLIVAN LLP

 2

 3                                                By /s/ Victoria F. Maroulis
                                                    Victoria F. Maroulis
 4                                                  Attorneys for Defendants
                                                    SAMSUNG ELECTRONICS CO., LTD.,
 5                                                  SAMSUNG ELECTRONICS AMERICA, INC. and
 6                                                  SAMSUNG TELECOMMUNICATIONS
                                                    AMERICA, LLC
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     HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY -226-                    Case No. 12-cv-00630-LHK
                                           SAMSUNG’S PATENT LOCAL RULE 3-3 AND 3-4 DISCLOSURES
